Case 2:10-md-02179-CJB-DPC Document 15835-8 Filed 02/08/16 Page 1 of 44




                        Exhibit 8
                  TO UNITED STATES’ BILL OF COSTS
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                                                Court Proceedings_001
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                Case 2:10-md-02179-CJB-DPC Document 15835-8 Filed 02/08/16 :, Page 5 of 44
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   (Rev  ~,~o~                                    UNITED STATES DISTRICT COURT                                                      -~         •~ ~~,
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                                                             INVOICE NO: 20130138                                                         `
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     1425 NEW YORK AVENUE NW                                                        500 Poydras St, Room B406    n
     WASHINGTON,DC 20005                                          ~                 New Orleans, LA 70130       ~ ~ ~~,
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     Phone: (202)616-4037                                             '`~           Phone:    (504)589-7779                              ~      =~,~
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Case 2:10-md-02179-CJB-DPC Document 15835-8 Filed 02/08/16 Page 7 of 44




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Case 2:10-md-02179-CJB-DPC Document 15835-8 Filed 02/08/16 Page 22 of 44




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 SARAH D.HIMMELHC)CH,ESQUIRE                                                          CATHY PEPPER.,CCR RMR CRR
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Case 2:10-md-02179-CJB-DPC Document 15835-8 Filed 02/08/16 Page 24 of 44




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Case 2:10-md-02179-CJB-DPC Document 15835-8 Filed 02/08/16 Page 31 of 44




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Case 2:10-md-02179-CJB-DPC Document 15835-8 Filed 02/08/16 Page 33 of 44




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             Case 2:10-md-02179-CJB-DPC Document 15835-8 Filed 02/08/16 Page 34 of 44
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  (Rev. 77/07)
                                                            UNkTED STATES DISTRICT COURT
                                                       FOR THE EASTERN DISTRICT OF LOUiSiANA
                                                                         INVOICE NO: 20150130
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   DAVID MCILLWAIN,ESQUIRE                                                                    CATHY PEPPER, CCR RMR CRR
   U. S. DEPARTMENT OF JUSTICE -- EES                                                         Offrciai Court Reporter
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   PO BOX 7611                                                                                New Orleans, LA 70121
   WASHINGTON,DC 20044
   Phone: (202)514-1544                                                                       Phone:    (504)589-7779
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                                    UNITED STATES DISTRICT COURT
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             Case 2:10-md-02179-CJB-DPC Document 15835-8 Filed 02/08/16 Page 40 of 44
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                                                                                  LESS AMOUNT OF DEPOSIT:

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                                                 ADDITIONAL IN~ORMAT[ON                      ~~ ~ +~ ~'`~'~'_ - y.,~- =~~"'~.,
   Fufl price may be charged only if the transcript is delivered within the required time frame. Far example, if an orde
for expedited transcr p# is not completed and delivered within seven (7) calendar days, payment would be at the
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              Case 2:10-md-02179-CJB-DPC Document 15835-8 Filed 02/08/16 Page 41 of 44
  Ao44
  (Rev. 1'iro7>                                 UNITED STATES DISTRICT CURT
                                           FOR THE EASTERS DISTRICT QF LOUISIANA
                                                             INVOICE NO: 2014022'7
                                                                                      MAKE CHECKS PAYABLE Tt'7:
   DAVID McILWAIN                                                                KAREN ANDERSON]IB4S,RPR CRR RMR
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                                                                                 Tax ID: 438-04-992fi
                                                                                 karen ibos@laed.uscourts.gov
                                                            DATE ORDERED:                              DATE DELIVERED:
            ❑ CRIMWRL               (X CIVIL                                   01-20-2015                                01-20-2015
 Case Style: MDR-2179, IN RE: OIL SPILL BY THE Old RiG DEEPWATER HORIZON
 HOURLY TRIAL TRANSCRIPT FOR 1/20/15 - l/23/15, DAYS 1-4 MORNING SESSIONS;
 PDF (530 X 3.63), E-IRAN (530 X 1.20) AND ASCII (530 X .90).



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              Case 2:10-md-02179-CJB-DPC Document 15835-8 Filed 02/08/16 Page 42 of 44

                                                      UNITED STATES DISTRICT GOURT
                                                 FOR THE EASTERN DISTRICT OF LOUISIANA
                                                                  INVOICE NO: 20150129
_ _._ .-      --.__          _ _                                                                   MAKE CHECKS PAYABLE TO:
                                  .~~,'AiN,ESQUIRE                                      CATHY PEPPER,CCR RMR CRR
                                    BNT OF JUSTICE -- EES                               Official Court Reporter
                                  .T AND NATURAL RESOURCES                              735 Pecan Grove Lane
                                                                                        New Orleans, LA 701~1                       r,,        ~,
                             "4,DC 20044
                                                                                        Phone:    (504)589-7779                    ~
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                           -179, IN RE: OIL SPILL BY THE OIL RIG DEEPWATER HORIZON...           e~~
                       y__i, TRANSCRIPTS 1/26/15 TO 2/2/15,            DAYS  5-8,   MORNING SESSNS::
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                 Case 2:10-md-02179-CJB-DPC Document 15835-8 Filed 02/08/16 Page 43 of 44
         Ao44
        (Rev. 11/07)                                UNITED STATES DISTRICT COURT
                                               FOR THE EASTERN DISTRLCT QF LOUISIANA
                                                             INVOICE NO~~ 20150019
                                                                                           MAKE CHECKS PAYABLE TO:
         David McIlwain, Esq.                                                   Toni Doyle Tusa, CCR,FCRR
         USDOJ - ENRD                                                           Official Court Reporter
         Environmental Enforcement Section                                      500 Poydras Street, Room B-275
         Post Office Box 7611                                                   New Orleans, LA 70130
         Washington, DC 20044-7611
         Phone: (202)514-1544                                                   Phone:     (504)589-7778
                                                                                FAX        (504)589-7726
         david.mcilwain@usdoj.gov                                              ~d#usa1@gmail.com                 %'
                                                             DATE ORDERED:           --    - ~    "---~ -      DATE DELIVERED:
                 ❑ CRIMINAL              ~X CIVIL                             02-06-2015                                         02-06-2015
~~r    Case Style: 10-MD-2179, IN RE: Oil Spill by the Oil Rig DEEPWATER HORIZON
       Hourly Trial Transcripts, 1/26/15 - 2/2/15, Days 5 - 8, Afternoon
       Sessions; PDF (565 x 3.63), E-Tran (565 x 1.20), & ASCII (565 x .90),
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      Check No: 103151234                    Deposit Date: 01-16-2015                 LESS AMOUNT OF DEPOSIT:                          2,000.00

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               Case 2:10-md-02179-CJB-DPC Document 15835-8 Filed 02/08/16 Page 44 of 44

      ~R~4„~0~>                                     UNITED STATES DISTRICT COURT
                                               FOR THE EASTERN DISTRICT OF LOUISIANA
                                                              INVOICE NO:     20150092
                                                                                                MAKE- CHECKS PAYABLE TO:
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              ,- _.
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     Case Style: 10-MD-2179, v
     Hourly Trial Transcripts, 1/26/15 - 2/2/15, Days 5 - 8, Afternoon
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